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                  THE UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF FLORIDA – TAMPA DIVISION

  STEFFANIE A., aka ATHENA, an  ) Case No.:
  individual,                   ) COLLECTIVE ACTION
                                )
                    Plaintiff,  )
          vs.                   ) COMPLAINT FOR DAMAGES
                                ) 1. Failure to Pay Minimum Wages,
  GOLD CLUB TAMPA, INC., a      )    29 U.S.C. § 206;
  Florida Corporation; MICHAEL  ) 2. Failure to Pay Overtime Wages,
  TOMKOVICH, an individual; DOE )    29 U.S.C. § 207; and
  MANAGERS 1-3; and DOES 4-     ) 3. Unlawful Taking of Tips,
  100, inclusive,               )    29 U.S.C. § 203
                                )
                   Defendants.  )
                                )
                                ) DEMAND FOR JURY TRIAL

        Plaintiff STEFFANIE A., aka ATHENA (“Plaintiff”), individually and
  on behalf of all others similarly situated, alleges the following upon information
  and belief, based upon investigation of counsel, published reports, and personal
  knowledge:
  I.    NATURE OF THE ACTION
        1.     Plaintiff alleges causes of action against defendants GOLD CLUB
  TAMPA, INC., a Florida Corporation (“Defendant” or “Gold Club”);
  MICHAEL TOMKOVICH, an individual (“Defendant” or “Tomkovich”);
  DOE MANAGERS 1-3; and DOES 4-100, inclusive (collectively,
  “Defendants”) for damages due to Defendants evading the mandatory
  minimum wage and overtime provisions of the Fair Labor Standards Act, 29
  U.S.C. §§ 201, et seq.(“FLSA”) and illegally absconding with Plaintiff’s tips.



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         2.       These causes of action arise from Defendants’ willful actions
  while Plaintiff was employed by Defendants from approximately 2014 through
  2018. During her time being employed by Defendants, Plaintiff was denied
  minimum wage payments and denied overtime as part of Defendants’ scheme
  to classify Plaintiff and other dancers/entertainers as “independent contractors.”
  As the Department of Labor explained in a recent Administrative Interpretation:

              Misclassification of employees as independent contractors is
              found in an increasing number of workplaces in the United
              States, in part reflecting larger restructuring of business
              organizations. When employers improperly classify
              employees as independent contractors, the employees may
              not receive important workplace protections such as the
              minimum wage, overtime compensation, unemployment
              insurance, and workers’ compensation. Misclassification
              also results in lower tax revenues for government and an
              uneven playing field for employers who properly classify
              their workers. Although independent contracting
              relationships can be advantageous for workers and
              businesses, some employees may be intentionally
              misclassified as a means to cut costs and avoid compliance
              with labor laws.1
         As alleged in more detail below, that is exactly what Defendants are doing
  in this case.
         3.       Plaintiff worked at Defendants’ principal place of business located
  at 6222 East Adamo Drive, Tampa, Florida 33619.
         4.       Gold Club failed to pay Plaintiff minimum wages and overtime
  wages for all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the
  FLSA.

  1
      See DOL Admin. Interp. No. 2015-1, available at
      http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.

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         5.    Defendants’ conduct violates the FLSA, which requires non-
  exempt employees to be compensated for their overtime work at a rate of one
  and one-half (1 ½) times their regular rate of pay. See 29 U.S.C. § 207(a).
         6.    Furthermore, Defendants’ practice of failing to pay tipped
  employees pursuant to 29 U.S.C. § 203(m), violates the FLSA’s minimum
  wage provision. See 29 U.S.C. § 206.
         7.    Plaintiff brings a collective action to recover the unpaid overtime
  compensation and minimum wage owed to her individually and on behalf of all
  other similarly situated employees, current and former, of Defendants.
  Members of the Collective Action are hereinafter referred to as “FLSA Class
  Members.”
         8.    As a result of Defendants’ violations, Plaintiff and the FLSA Class
  Members seek to recover double damages for failure to pay minimum wage,
  overtime liquidated damages, interest, and attorneys’ fees.
  II.    PARTIES
         9.    Plaintiff was an individual adult resident of the State of Florida.
  Furthermore, Plaintiff was employed by Defendants and qualifies as an
  “employee” of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her
  consent to this action is attached hereto as Exhibit 1.
         10.   The FLSA Class Members are all current and former exotic
  dancers who worked at Gold Club located at 6222 East Adamo Drive, Tampa,
  Florida 33619 at any time starting three (3) years before this Complaint was
  filed, up to the present.
         11.   Gold Club is a Florida corporation with its principal place of
  business at 6222 East Adamo Drive, Tampa, Florida 33619. At all times
  mentioned herein, Gold Club was an “employer” or “joint employer” as

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  defined by the FLSA, 29 U.S.C. § 203(d) and (g). Gold Club may be served via
  its agent for service of process, TOmkovich, at either 518 East Adamo Drive,
  Tampa, Florida 33619 or 2973 Mayport Road, Jacksonville, Florida 32233.
        12.    Tomkovich was/is the main manager who executed the policies
  regarding payment to dancers and management of dancers, including Plaintiff.
  Tomkovich is also the owner of Gold Club.
        13.    Tomkovich acted directly or indirectly on behalf of Gold Club,
  and, at all times mentioned herein was an “employer” or “joint employer” of
  Plaintiff within the meaning of the FLSA. He exerted operational and
  management control over Gold Club, including day to day management. He
  was, and is, frequently present at, owned, directed, controlled and managed the
  operations at Gold Club. He also controlled the nature, pay structure, and
  employment relationship of Plaintiff and the FLSA Class Members.
  Tomkovich had at all times relevant to this lawsuit, the authority to hire and
  fire employees at Gold Club, the authority to direct and supervise the work of
  employees, the authority to sign on the business’ checking accounts, including
  payroll accounts, and the authority to make decisions regarding employee
  compensation and capital expenditures. Additionally, he was responsible for
  the day-to-day affairs of Gold Club. In particular, he was responsible for
  determining whether Gold Club complied with the FLSA.
        14.    DOE MANAGERS 1-3 are the managers/owners who control the
  policies and enforce the policies related to employment at Gold Club.
        15.    The true names, capacities or involvement, whether individual,
  corporate, governmental or associate, of the Defendants named herein as DOES
  4 through 100, inclusive are unknown to Plaintiff who therefore sues said
  Defendants by such fictitious names. Plaintiff prays for leave to amend this

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  Complaint to show their true names and capacities when the same have been
  finally determined. Plaintiff is informed and believes, and upon such
  information and belief alleges thereon, that each of the Defendants designated
  herein as DOE is negligently, intentionally, strictly liable or otherwise legally
  responsible in some manner for the events and happenings herein referred to,
  and negligently, strictly liable intentionally or otherwise caused injury and
  damages proximately thereby to Plaintiff, as is hereinafter alleged.
        16.    At all material times, Defendants have been an enterprise in
  commerce or in the production of goods for commerce within the meaning of
  29 U.S.C. § 203(r)(1) of the FLSA because they have had employees at their
  club engaged in commerce, which has travelled in interstate commerce.
  Moreover, because of Defendants’ interrelated activities, they function in
  interstate commerce. 29 U.S.C. § 203(s)(1).
        17.    Furthermore, Defendants have had, and continue to have, an
  annual gross business volume in excess of the statutory standard.
        18.    At all material times during the three (3) years prior to the filing of
  this action, Defendants categorized all dancers/entertainers employed at Gold
  Club as “independent contractors” and have failed and refused to pay wages or
  compensation to such dancers/entertainers. Plaintiff was an individual
  employee who engaged in commerce or in the production of goods for
  commerce as required by 29 U.S.C. §§ 206-207.
        19.    Plaintiff is informed and believes that, at all relevant times herein,
  Defendants engaged in the acts alleged herein and/or condoned, permitted,
  authorized, and/or ratified the conduct of its employees and agents, and other
  Defendants and are vicariously or strictly liable for the wrongful conduct of its
  employees and agents as alleged herein.

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          20.   Plaintiff is informed and believes, and on that basis alleges that,
  each of the Defendants acted, in all respects pertinent to this action, as the agent
  or employee of each other, and carried out a joint scheme, business plan, or
  policy in all respect thereto and, therefore, the acts of each of these Defendants
  are legally attributable to the other Defendants, and that these Defendants, in all
  respects, acted as employers and/or joint employers of Plaintiff in that each of
  them exercised control over her wage payments and control over her duties.
          21.   Plaintiff is informed and believes, and on that basis alleges that, at
  all relevant times, each and every Defendant has been the agent, employee,
  representative, servant, master, employer, owner, agent, joint venture, and alter
  ego of each of the other and each was acting within the course and scope of his
  or her ownership, agency, service, joint venture and employment.
          22.   At all times mentioned herein, each and every Defendant was the
  successor of the other and each assumes the responsibility for the acts and
  omissions of all other Defendants.
  III.    VENUE AND JURSIDICTION
          23.   This Court has jurisdiction over the subject matter of this action
  under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.S.C.
  §§ 201, et seq.
          24.   Venue is proper in this District because all or a substantial portion
  of the events forming the basis of this action occurred in this District.
  Defendants’ club is located in this District and Plaintiff worked in this District.
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  IV.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                           (AGAINST ALL DEFENDANTS)
         A.    FACTUAL ALLEGATIONS
         25.   Defendants operate an adult-oriented entertainment facility
  located at 6222 East Adamo Drive, Tampa, Florida 33619. The pictures below
  depicts the outside and inside of the Club.




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        26.       At all times mentioned herein, Defendants were “employer(s)” or
  “joint employer(s)” of Plaintiff.
        27.       At all times during the three (3) years prior to the filing of the
  instant action, Defendants categorized all dancers/entertainers employed by
  Defendants as “independent contractors” and have failed and refused to pay
  wages to such dancers.
        28.       At all times relevant to this action, Defendants exercised a great
  deal of operational and management control over the subject club, particularly
  in the areas of terms and conditions of employment applicable to dancers and
  entertainers.
        29.       Plaintiff began working as a dancer for Defendants in 2014 and
  continued through approximately 2018. Plaintiff estimates her damages,
  individually, to be at least $100,000.
        30.       The primary duty of an entertainer is to dance and entertain
  customers, and give them a good experience. Specifically, an entertainer
  performs stage and table dances, and entertains customers on an hourly basis.
        31.       Stated differently, entertainers dance on stage, perform table
  dances, and entertain customers in VIP rooms, all while nude or semi-nude.
        32.       Plaintiff worked and performed at the adult-oriented entertainment
  facility multiple shifts per week. Plaintiff was an integral part of Defendants’
  business which operated solely as an adult-oriented entertainment facility
  featuring nude or semi-nude female entertainers.
        33.       Defendants did not pay entertainers on an hourly basis.
        34.       Defendants exercised significant control over Plaintiff during her
  shifts and would demand that Plaintiff stay until late in the morning if she
  worked.

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         35.   Defendants set prices for all VIP performances.
         36.   Defendants set the daily cover charge for customers to enter the
  facility and had complete control over which customers were allowed in the
  facility.
         37.   Defendants controlled music for Plaintiff’s performances.
         38.   Defendants controlled the means and manner in which Plaintiff
  could perform.
         39.   Defendants placed Plaintiff on a schedule.
         40.   Defendants had the authority to suspend, fine, fire, or otherwise
  discipline entertainers for non-compliance with their rules regarding dancing.
         41.   Defendants actually suspended, fined, fired, or otherwise
  disciplined entertainers for non-compliance with their rules regarding dancing.
         42.   Although Defendants allowed entertainers to choose their own
  costumes, Defendants reserved the right to decide what a particular entertainer
  was allowed to wear on the premises. In order to comply with Gold Club’s
  dress and appearance standards, Plaintiff typically expended approximately one
  (1) hour of time each shift getting ready for work without being paid any wages
  for such time getting ready.
         43.   Plaintiff was compensated exclusively through tips from
  Defendants’ customers. That is, Defendants did not pay Plaintiff whatsoever
  for any hours worked at their establishment.
         44.   Defendants also required Plaintiff to share her tips with
  Defendants, other non-service employees who do not customarily receive tips,
  including the managers, disc jockeys, and the bouncers.
         45.   Defendants are in violation of the FLSA’s tipped-employee
  compensation provision, 29 U.S.C. § 203(m), which requires employers to pay

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   a tipped employee a minimum of $2.13 per hour. Defendants also violated 29
   U.S.C. § 203(m) when they failed to notify the Plaintiff about the tip credit
   allowance (including the amount to be credited) before the credit was utilized.
   That is, Defendants’ exotic dancers were never made aware of how the tip
   credit allowance worked or what the amounts to be credited were. Furthermore,
   Defendants violated 29 U.S.C. § 203(m) because they did not allow Plaintiff to
   retain all of her tips and instead required that she divide her tips amongst other
   employees who do not customarily and regularly receive tips. Because
   Defendants violated the tip-pool law, Defendants lose the right to take a credit
   toward minimum wage.
          46.      Defendants exercised significant control over Plaintiff through
   written and unwritten policies and procedures. Defendants had visibly posted
   in the employees’ locker room the written employee rules for late arrivals and
   early leaves and the corresponding fees for which performers would be
   responsible.
          47.      Gold Club provided and paid for all advertising and marketing
   efforts undertaken on behalf of Gold Club.
          48.      Gold Club paid for the building used by Gold Club maintenance
   of the facility, the sound system, stages, lights, beverages and inventory used at
   the facility.
          49.      Defendants made all hiring decisions regarding wait staff,
   security, entertainers, managerial and all other employees on the premises.
          50.      Gold Club’s opportunity for profit and loss far exceeded
   Plaintiff’s opportunity for profit and loss from work at Gold Club.
          51.      Nude dancing is an integral part of Gold Club’s operations. Gold
   Club’s advertising and logo prominently displays nude dancing for its

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   customers. Gold Club is well known as a “strip club.”
         52.     Gold Club needs entertainers to successfully and profitably
   operate the Gold Club business model.
         53.     The position of entertainer requires no managerial skill of others.
         54.     The position of entertainer requires little other skill or education,
   formal or otherwise.
         55.     The only requirements to become an entertainer at Gold Club are
   “physical attributes” and the ability to dance seductively. Plaintiff did not have
   a formal interview but instead was glanced over “up and down” and
   participated in a brief audition by the manager before being offered an
   employment opportunity. The amount of skill required is more akin to an
   employment position than that of a typical independent contractor. Defendants
   do not require prior experience as an entertainer or any formal dance training
   as a job condition or prerequisite to employment. Defendants do not require the
   submission of an application or a resume as part of the hiring process. In fact,
   Plaintiff has little or no formal dance training and experience before
   auditioning to dance at Gold Club.
         56.     Defendants failed to maintain records of wages, fines, fees, tips
   and gratuities and/or service charges paid or received by entertainers.
         57.     Plaintiff was not paid an hourly minimum wage or any hourly
   wage or salary despite being present at Defendants’ facility and required to
   work and entertain its customers at any time during an eight-plus (8+) hour
   work shift.
         58.     Plaintiff was not paid overtime wages at one-and-a-half (1½)
   times the regular minimum wage rate for any hours worked despite being
   present at Defendants’ facility and required to work and entertain its customers

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   for longer than eight (8) hours per shift.
          59.   Plaintiff was not paid an hourly minimum wage for the typical one
   (1) hour of time expended prior to each shift to get ready for work, including
   applying makeup and hair, and to comply with Defendants’ dress and
   appearance standards. Plaintiff estimates that she spent approximately five
   hundred U.S. Dollars ($500.00) annually on makeup, hair-related expenses and
   outfits.
          60.   Plaintiff was not paid an hourly minimum wage for the time she
   was required to wait at Gold Club until the premises and the parking lot were
   cleared of customers.
          61.   The FLSA Class Members had the same pay structure and were
   under the same controls as Plaintiff.
          62.   Plaintiff and FLSA Class Members would work over forty (40)
   hours in some weeks each worked for Defendants.
          63.   Defendants have never paid Plaintiff and the FLSA Class
   Members any amount as wages whatsoever, and have instead unlawfully
   required Plaintiff and FLSA Class Members to pay them for the privilege of
   working.
          64.   The only source of monies received by Plaintiff (and the class she
   seeks to represent) relative to her employment with Defendants came in the
   form of gratuities received directly from customers, a portion of which Plaintiff
   and the FLSA Class Members were required to pay to Defendants.
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           65.   Although Plaintiff and the FLSA Class Members are required to
   and do in fact frequently work more than forty (40) hours per workweek, they
   are not compensated at the FLSA mandated time-and-a-half rate for hours in
   excess of forty (40) per workweek. In fact, they receive no compensation
   whatsoever from Defendants and thus, Defendants violate the minimum wage
   requirement of FLSA. See 29 U.S.C. § 206.
           66.   Defendants' method of paying Plaintiff in violation of the FLSA
   was willful and was not based on a good faith and reasonable belief that its
   conduct complied with the FLSA. Defendants misclassified Plaintiff with the
   sole intent to avoid paying her in accordance to the FLSA; the fees and fines
   described herein constitute unlawful “kickbacks” to the employer within the
   meaning of the FLSA, and Plaintiffs are entitled to restitution of such fines and
   fees.
           67.   Plaintiff and FLSA Class Members who worked at Gold Club
   performed precisely the same job duties - dancing and entertaining at Gold
   Club.
           68.   Plaintiff and FLSA Class Members who worked at Gold Club
   during the applicable limitations period(s) were subject to the same work rules
   established by the Defendants as identified above.
           69.   Plaintiff and FLSA Class Members at Gold Club were subject to
   the terms and conditions of employment and the same degree of control,
   direction, supervision, promotion and investment imposed or performed by
   Defendants.
           70.   Plaintiff and FLSA Class Members at Gold Club during the
   applicable limitations period(s) were subject to the same across-the-board,
   uniformly applied corporate policy mandated by Defendants.

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            71.   Plaintiff and the FLSA Class Members at Gold Club, during the
   applicable limitations period, were subject to the same fees and fines imposed
   by Defendants.
            72.   As a result of Defendants’ across-the-board, standard operating
   procedure of mischaracterizing dancers/entertainers as “independent
   contractors” and their consequent failure to pay any wages or compensation
   whatsoever, it is a certainly that numerous other current and former dancers
   and entertainers who worked at Gold Club during the applicable limitations
   period would elect to participate in this action if provided notice of same.
            73.   Upon information and belief, more than one hundred (100)
   dancers and entertainers have worked at Gold Club during the three (3) to five
   (5) years prior to the filing of this action.
            74.   Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of
   persons she seeks to represent, and will adequately represent the interests of the
   class.
            75.   Plaintiff has hired Counsel experienced in class actions and in
   collective actions under 29 U.S.C. § 216(b) who will adequately represent the
   class.
            76.   Defendants failed to keep records of tips, gratuities and/or service
   charges paid to Plaintiff or any other entertainer and failed to maintain and
   furnish wage statements to Plaintiff.
            77.   Federal law mandates that an employer is required to keep for
   three (3) years all payroll records and other records containing, among other
   things, the following information:
            a.    The time of day and day of week on which the employees’ work
                  week begins;

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         b.    The regular hourly rate of pay for any workweek in which
               overtime compensation is due under section 7(a) of the FLSA;
         c.    An explanation of the basis of pay by indicating the monetary
               amount paid on a per hour, per day, per week, or other basis;
         d.    The amount and nature of each payment which, pursuant to
               section 7(e) of the FLSA, is excluded from the “regular rate”;
         e.    The hours worked each workday and total hours worked each
               workweek;
         f.    The total daily or weekly straight time earnings or wages due for
               hours worked during the workday or workweek, exclusive of
               premium overtime compensation;
         g.    The total premium for overtime hours. This amount excludes the
               straight-time earnings for overtime hours recorded under this
               section;
         h.    The total additions to or deductions from wages paid each pay
               period including employee purchase orders or wage assignments;
         i.    The dates, amounts, and nature of the items which make up the
               total additions and deductions;
         j.    The total wages paid each pay period; and
         k.    The date of payment and the pay period covered by payment.
   29 C.F.R. 516.2, 516.5.
         78.   Defendants have not complied with federal law and have failed to
   maintain such records with respect to Plaintiff and the FLSA Class Members.
   Because Defendants’ records are inaccurate and/or inadequate, Plaintiff and the
   FLSA Class Members can meet their burden under the FLSA by proving that
   they, in fact, performed work for which they were improperly compensated,

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   and produce sufficient evidence to show the amount and extent of their work
   “as a matter of a just and reasonable inference.” See, e.g., Anderson v. Mt.
   Clemens Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put
   Defendants on notice that she intends to rely on Anderson to provide the extent
   of her unpaid work.
          B.    INDIVIDUAL LIABILITY UNDER THE FLSA
          79.   In Lamonica v. Safe Hurricane Shutters, Inc., the U.S. Court of
   Appeals for the Eleventh Circuit held that individuals can be liable for FLSA
   violations under an expansive interpretation of “employer” for directors and
   officers. Lamonica v. Safe Hurricane Shutters, Inc., 711 F.3d 1299 (11th Cir.
   2013). The FLSA defines “employer” as “any person acting directly or
   indirectly in the interest of an employer in relation to an employee.” 29 U.S.C.
   § 203(d). The Ninth Circuit stated that the definition of “employer” under
   FLSA is not limited by the common law concept of “employer” but “is to be
   given an expansive interpretation in order to effectuate the FLSA’s broad
   remedial purposes.”
          80.   Where an individual exercises “control over the nature and
   structure of the employment relationship,” or “economic control” over the
   relationship, that individual is an employer within the meaning of the FLSA,
   and is subject to liability. Lambert v. Ackerley 180 F.3d 997 (9th Cir. 1999)
   Factors related to “economic control,” which included ownership interest,
   operational control of significant aspects of the day-to-day functions, the power
   to hire and fire employees, determine salaries, and the responsibility to
   maintain employment records.
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          81.    Tomkovich is individually liable for failing to pay Plaintiff her
   wages. The actual identities of DOE Managers 1-3 (and perhaps DOES 4
   through 100) are unknown at this time.
   V.     COLLECTIVE ACTION ALLEGATIONS
          82.    Plaintiff hereby incorporates by reference and re-alleges each and
   every allegation set forth in each and every preceding paragraph as though
   fully set forth herein.
         83.    Plaintiff brings this action as an FLSA collective action pursuant
   to 29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
   Defendants as exotic dancers/entertainers at any time during the three (3) years
   prior to the commencement of this action to present.
         84.    Plaintiff has actual knowledge that FLSA Class Members have
   also been denied overtime pay for hours worked over forty (40) hours per
   workweek and have been denied pay at the federally mandated minimum wage
   rate. That is, Plaintiff worked with other dancers/entertainers at Gold Club. As
   such, she has firsthand personal knowledge of the same pay violations
   throughout Defendants’ club. Furthermore, other exotic dancers/entertainers at
   Defendants’ club have shared with her similar pay violation experiences as
   those described in this Complaint.
          85.    Other employees similarly situated to Plaintiff work or have
   worked at “Gold Club” but were not paid overtime at the rate of one and one-
   half (1 ½) their regular rate when those hours exceeded forty (40) hours per
   workweek. Furthermore, these same employees were denied pay at the
   federally mandated minimum wage rate.
          86.    Although Defendants permitted and/or required the FLSA Class
   Members to work in excess of forty (40) hours per workweek, Defendants have

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   denied them full compensation for their hours worked over forty (40).
   Defendants have also denied them full compensation at the federally mandated
   minimum wage rate.
          87.   FLSA Class Members perform or have performed the same or
   similar work as the Plaintiff.
          88.   FLSA Class Members regularly work or have worked in excess of
   forty (40) hours during a workweek.
          89.   FLSA Class Members regularly work or have worked and did not
   receive minimum wage.
          90.   FLSA Class Members are not exempt from receiving overtime
   and/or pay at the federally mandated minimum wage rate under the FLSA.
          91.   As such, FLSA Class Members are similar to Plaintiff in terms of
   job duties, pay structure, misclassification as independent contractors and/or
   the denial of overtime and minimum wage.
          92.   Defendants’ failure to pay overtime compensation and hours
   worked at the minimum wage rate required by the FLSA results from generally
   applicable policies or practices, and does not depend on the personal
   circumstances of the FLSA Class Members.
          93.   The experiences of the Plaintiff, with respect to her pay, are
   typical of the experiences of the FLSA Class Members.
          94.   The specific job titles or precise job responsibilities of each FLSA
   Class Member does not prevent collective treatment.
          95.   All FLSA Class Members, irrespective of their particular job
   requirements, are entitled to overtime compensation for hours worked in excess
   of forty (40) during a workweek.
   ///

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           96.     All FLSA Class Members, irrespective of their particular job
   requirements, are entitled to compensation for hours worked at the federally
   mandated minimum wage rate.
           97.     Although the exact number of damages may vary among FLSA
   Class Members, the damages for the FLSA Class Members can be easily
   calculated by a simple formula. The claims of all FLSA Class Members arise
   from a common nucleus of facts. Liability is based on a systematic course of
   wrongful conduct by the Defendant that caused harm to all FLSA Class
   Members.
           98.     As such, Plaintiff brings her FLSA claims as a collective action on
   behalf of the following class:
             All     of   Defendants     current     and    former    exotic
             dancers/entertainers who worked at the Gold Club
             located in Tampa, Florida at any time starting three years
             before this Complaint was filed.
   VI.     CAUSES OF ACTION
                              FIRST CAUSE OF ACTION
         FAILURE TO PAY MINIMUM WAGE PURSUANT TO FLSA, 29 U.S.C. § 206
                 (By Plaintiff Individually and on Behalf of the Collective
                                 Against All Defendants)
           99.     Plaintiff hereby incorporates by reference and re-alleges each and
   every allegation set forth in each and every preceding paragraph as though
   fully set forth herein.
           100. Defendants are engaged in “commerce” and/or in the production
   of “goods” for “commerce” as those terms are defined in the FLSA.
   ///

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         101. Defendants operate an enterprise engaged in commerce within the
   meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees
   engaged in commerce, and because its annual gross volume of sales made is
   more than five hundred thousand U.S. Dollars ($500,000).
         102. Defendants failed to pay Plaintiff the minimum wage in violation
   of 29 U.S.C. § 206.
         103. Based upon the conduct alleged herein, Defendants knowingly,
   intentionally and willfully violated the FLSA by not paying Plaintiff the
   minimum wage under the FLSA.
         104. Throughout the relevant period of this lawsuit, there is no
   evidence that Defendants’ conduct that gave rise to this action was in good
   faith and based on reasonable grounds. In fact, Defendants continued to violate
   the FLSA long after it learned that its misclassification scheme and
   compensation policies were illegal.
         105. Due to Defendants’ FLSA violations, Plaintiff is entitled to
   recover from Defendants, minimum wage compensation and an equal amount
   in the form of liquidated damages, as well as reasonable attorneys’ fees and
   costs of the action, including interest, pursuant to 29 U.S.C. § 216(b).
                           SECOND CAUSE OF ACTION
     FAILURE TO PAY OVERTIME WAGES PURSUANT TO FLSA, 29 U.S.C. § 207
             (By Plaintiff Individually and on Behalf of the Collective
                               Against All Defendants)
         106. Plaintiff hereby incorporates by reference and re-alleges each and
   every allegation set forth in each and every preceding paragraph as though fully
   set forth herein.



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          107. Each Defendant is an “employer” or “joint employer” of Plaintiff
   within the meaning of the FLSA, 29 U.S.C. § 203(d).
          108. Defendants are engaged in “commerce” and/or in the production of
   “goods” for “commerce” as those terms are defined in the FLSA.
          109. Defendants operate an enterprise engaged in commerce within the
   meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
   in commerce, and because its annual gross volume of sales made is more than
   five hundred thousand U.S. Dollars ($500,000.00).
          110. Defendants failed to pay Plaintiff the applicable overtime wage for
   each hour in excess of forty (40) during each workweek in which she worked in
   violation of 29 U.S.C. § 207.
          111. Based upon the conduct alleged herein, Defendants knowingly,
   intentionally and willfully violated the FLSA by not paying Plaintiff the
   overtime wage required under the FLSA.
          112. Throughout the relevant period of this lawsuit, there is no evidence
   that Defendants’ conduct that gave rise to this action was in good faith and
   based on reasonable grounds. In fact, Defendants continued to violate the FLSA
   long after it learned that its misclassification scheme and compensation policies
   were unlawful.
          113. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
   from Defendants, overtime wage compensation and an equal amount in the
   form of liquidated damages, as well as reasonable attorneys’ fees and costs of
   the action, including interest, pursuant to 29 U.S.C. § 216(b).
   ///
   ///
   ///

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                            THIRD CAUSE OF ACTION
     UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203
             (By Plaintiff Individually and on Behalf of the Collective
                              Against All Defendants)
         114. Plaintiff hereby incorporates by reference and re-alleges each and
   every allegation set forth in each and every preceding paragraph as though fully
   set forth herein.
         115. Plaintiff customarily and regularly received more than thirty U.S.
   Dollars ($30.00) a month in tips and therefore is a tipped employee as defined
   in the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
         116. At all relevant times, each Defendants were “employer(s)” or
   “joint employer(s)” of Plaintiff within the meaning of the FLSA, 29 U.S.C. §
   203(d).
         117. Defendants are engaged in “commerce” and/or in the production of
   “goods” for “commerce” as those terms are defined in the FLSA.
         118. Defendants operate an enterprise engaged in commerce within the
   meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees
   engaged in commerce, and because its annual gross volume of sales made is
   more than five hundred thousand U.S. Dollars ($500,000).
         119. Under TIPA:

                [a]n employer may not keep tips received by its
                employees for any purpose including allowing managers
                or supervisors to keep any portion of employees’ tips,
                regardless of whether or not it takes a tip credit.

         29 U.S.C. § 203.



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          120. Defendants kept a portion of tips paid to Plaintiff by Defendants’
   customers in the form of fees, fines, mandatory charges and other payments to
   management, house moms, disc jockeys, and floor men in violation of TIPA.
          121. Defendants required Plaintiff to participate in an illegal tip pool,
   which included employees who do not customarily and regularly receive tips,
   and do not have more than a de minimis, if any, interaction with customer
   leaving the tips (such as the Club DJ, security, and management). See U.S.
   Dep’t of Labor, Wage and Hour Division, “Fact Sheet # 15: Tipped employees
   under the Fair Labor Standards Act (FLSA).”
          122. The contribution Defendants required Plaintiff to make after each
   shift was arbitrary and capricious and distribution was not agreed to by Plaintiff
   other dancers; but rather, was imposed upon Plaintiff and other dancers.
          123. By requiring Plaintiff to pool her tips with club management,
   including the individual Defendants named herein, Defendants “retained” a
   portion of the tips received by Plaintiff in violation of the FLSA.
          124. Defendants did not make any effort, let alone a “good faith” effort,
   to comply with the FLSA as it relates to compensation owed to Plaintiff.
          125. At the time of their illegal conduct, Defendants knew or showed
   reckless disregard that the tip-pool which they required Plaintiff to contribute
   included non-tipped employees and, therefore, was statutorily illegal. In spite of
   this, Defendants willfully failed and refused to pay Plaintiff the proper amount
   of the tips to which she was entitled.
          126. Defendants’ willful failure and refusal to pay Plaintiff the tips she
   earned violates the FLSA.
   ///
   ///

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         127. Defendants kept a portion of tips paid to Plaintiff by Defendants’
   customers in the form of fees, fines, mandatory charges and other payments to
   management, house moms, disc jockeys, and door men in violation of TIPA.
         128. As a result of the acts and omissions of the Defendants as alleged
   herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
   damages in the form of all misappropriated tips, plus interest; as liquated
   damages, an amount equal to all misappropriated tips, mandatory attorneys’
   fees, costs, and expenses.
                                PRAYER FOR RELIEF
         WHEREFORE, Plaintiff requests of this Court the following relief:
            1.     For compensatory damages according to proof at trial of at least
                   $100,000;
            2.     For special damages according to proof at trial;
            3.     For restitution of unpaid monies;
            4.     For attorneys’ fees;
            5.     For costs of suit incurred herein;
            6.     For statutory penalties;
            7.     For civil penalties;
            8.     For pre-judgment interest;
            9.     For post-judgement interest;
            10.    For general damages in an amount to be proven at trial;
            11.    For declaratory relief;
            12.    For injunctive relief; and
            13.    For such other and further relief as the tribunal may deem just
                   and proper.



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   Dated: December 15, 2019                   /s/ Raymond R. Dieppa
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       COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                           DEMAND FOR JURY TRIAL
         Plaintiff hereby demands a trial by jury for all such triable claims.


   Dated: December 15, 2019                       /s/ Raymond R. Dieppa
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       COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                         EXHIBIT
                                “1”
DocuSign Envelope ID: 951A3ACA-1C73-4471-A550-CA525CF724DA
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                                                                                             John P. Kristensen
                                                                                            Jesenia A. Martinez
                                                                                               Jacob J. Ventura




                                           CONSENT FORM FOR WAGE CLAIM

            Printed Name: Steffanie A


            1.        I consent and agree to be represented by Kristensen LLP and Hughes
            Ellzey, LLP and to pursue my claims of unpaid overtime and/or minimum wage
            through the lawsuit filed against my employer under the Fair Labor Standards Act
            and/or applicable state laws.



            2.        I intend to pursue my claim individually, unless and until the court certifies
            this case as a collective or class action. I agree to serve as the class
            representative if the court approves. If someone else serves as the class
            representative, then I designate the class representatives as my agents to make
            decisions on my behalf concerning the litigation, the method and manner of
            conducting the litigation, the entering of an agreement with the plaintiffs' counsel
            concerning attorney's fees and costs, and all other matters pertaining to this
            lawsuit.



            3.       If my consent form is stricken or if I am for any reason not allowed to
            participate in this case, I authorize Plaintiffs’ counsel to use this Consent Form to
            re-file my claims in a separate or related action against my employer.
                                                                            12/4/2019
            (Signature) ___________                 _________ (Date Signed) _____________________
                        Steffanie A




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